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 PROB 12C                                                                            Report Date: November 10, 2016
(6/16)

                                        United States District Court                                  FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                             Nov 10, 2016
                                         Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Sarah Butler                               Case Number: 0980 2:12CR06011-EFS-3
 Address of Offender:                 Mabton, Washington 98935
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: October 18, 2012
 Original Offense:        Attempt and Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 190 days; TSR - 60         Type of Supervision: Supervised Release
                          days

 Revocation               Prison - 8 months; TSR - 52
 Sentence: 07/09/13       months
 (Appealed)

 Revocation               Prison - credit for time served;
 Re-sentencing:           TSR - 48 months
 05/22/14
 Asst. U.S. Attorney:     Alison L. Gregoire                  Date Supervision Commenced: May 21, 2014
 Defense Attorney:        Federal Defenders, Yakima           Date Supervision Expires: July 8, 2017


                                          PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                        tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: Sarah Butler is considered in violation of her period of supervised
                        release in the Eastern District of Washington by using a controlled substance, marijuana, on
                        or before October 26, 2016.

                        Ms. Butler reported to the U.S. Probation Office in Richland on October 4, 2016. She
                        provided a urinalysis (UA) sample which tested presumptive positive for the presence of
                        THC. At this point, Ms. Butler denied use of THC. Results from this test were received on
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                     October 8, 2016, from Alere Laboratories, with positive results for the presence of THC.

                     Ms. Butler reported to the U.S. Probation Office on October 11, 2016. At this time she
                     admitted to smoking marijuana, and stated she did not admit to using marijuana the previous
                     week as she was scared. She denied further use of controlled substances. Ms. Butler was
                     directed to report weekly, in person, on Monday’s for UA testing to monitor her THC levels.

                     On October 17, 2016, Ms. Butler reported to the U.S. Probation Office as directed and
                     submitted a UA test. The test was sent to Alere Laboratories for confirmation and testing.
                     Results were received on October 21, 2016, confirming this sample was positive for the
                     presence of THC.

                     Ms. Butler reported on October 24, 2016 and provided a UA test that was presumptive
                     positive for THC. She denied further use of marijuana at this time. Results of this test were
                     received from Alere Laboratories on October 27, 2016, and confirmed the sample was
                     positive for THC.

                     On October 31, 2016, Ms. Butler report and provided a UA test that tested presumptive
                     positive for THC and cocaine. Ms. Butler denied using either substance, and the sample was
                     submitted to Alere Laboratories for further testing. On November 3, 2016, results from Alere
                     Laboratories were received which confirmed this UA test was positive for THC and cocaine.

                     Ms. Butler was contacted by phone on November 4, 2016. She admitted that her last use of
                     marijuana was on October 26, 2016. She was directed to continue reporting, in person, to the
                     U.S. Probation Office in Richland to continue UA monitoring.
Violation Number     Nature of Noncompliance

          2          Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                     shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                     tests per month, in order to confirm continued abstinence from these substances.

                     Supporting Evidence: Sarah Butler is considered in violation of her period of supervised
                     release in the Eastern District of Washington by using a controlled substance, cocaine, on
                     or before October 31, 2016.

                     On October 31, 2016, Ms. Butler report and provided a UA test that tested presumptive
                     positive for THC and cocaine. Ms. Butler denied using either substance, and the sample was
                     submitted to Alere Laboratories for further testing. On November 3, 2016, results from Alere
                     Laboratories were received which confirmed this UA test was positive for THC and cocaine.

                     Ms. Butler was contacted by phone on November 4, 2016. She denied using cocaine, but
                     admitted that her last use of marijuana was on October 26, 2016. She was directed to
                     continue reporting, in person, to the U.S. Probation Office in Richland to continue UA
                     monitoring.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear
to answer to the allegations contained in this petition.
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     11/10/2016
                                                                     s/Daniel M. Manning
                                                                     Daniel M. Manning
                                                                     U.S. Probation Officer




 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                            November 10, 2016
                                                                     Date
